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 1   TRACY L. WILKISON
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     CHELSEA NORELL (Cal. Bar No. 280831)
 4   LINDSAY BAILEY (Cal. Bar No. 285047)
     Assistant United States Attorneys
 5   Violent and Organized Crime/International
     Narcotics, Money Laundering, and Racketeering
 6   Sections
          1300/1400 United States Courthouse
 7        312 North Spring Street
          Los Angeles, California 90012
 8        Telephone: (213) 894-2624/6875
          Facsimile: (213) 894-0141
 9        E-mail:    chelsea.norell@usdoj.gov
                     lindsay.bailey@usdoj.gov
10
     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                 No. CR 19-595(a)-CAS

15               Plaintiff,                    TRIAL MEMORANDUM

16                    v.                       Trial Date:     July 13, 2021
                                               Location:       Courtroom of the
17   EDWARD BUCK,                                              Hon. Christina A.
                                                               Snyder
18               Defendant.

19

20         Plaintiff United States of America, by and through its counsel
21   of record, the Acting United States Attorney for the Central District
22   of California and Assistant United States Attorney Chelsea Norell and
23   Lindsay Bailey, hereby files its Trial Memorandum.
24         This Trial Memorandum is based upon the attached memorandum of
25   //
26   //
27

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 1   points and authorities, the files and records in this case, and such

 2   further evidence and argument as the Court may permit.

 3    Dated: July 2, 2021                  Respectfully submitted,

 4                                         TRACY L. WILKISON
                                           Acting United States Attorney
 5
                                           SCOTT M. GARRINGER
 6                                         Assistant United States Attorney
                                           Chief, Criminal Division
 7

 8                                               /s/
                                           CHELSEA NORELL
 9                                         LINDSAY BAILEY
                                           Assistant United States Attorney
10
                                           Attorneys for Plaintiff
11                                         UNITED STATES OF AMERICA

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 1                                   TRIAL MEMORANDUM

 2   I.    STATUS OF THE CASE

 3         A.    Procedural Background

 4         Defendant Edward Buck (“Buck”) is charged in a nine-count first

 5   superseding indictment with distribution of methamphetamine resulting

 6   in death, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) (Counts 1

 7   and 2); distribution of methamphetamine, in violation of 21 U.S.C.

 8   §§ 841(a)(1), (b)(1)(C) (Counts 2 through 6); maintaining a drug

 9   premises, in violation of 21 U.S.C. § 856(a)(1) (Count 7); and

10   enticement to travel for purposes of prostitution, in violation of 18

11   U.S.C. § 2422(a) (Counts 8 and 9).

12         Defendant has pleaded not guilty to all charges and will proceed

13   to trial on July 13, 2021 at 9:30 a.m.         The final status conference

14   is scheduled for July 6, 2021 at 11:30 a.m.

15         B.    Pending Stipulations

16         On June 15, 2021, the government proposed eleven stipulations to

17   defense counsel regarding foundational issues concerning Cellebrite

18   extractions of digital devices, controlled substance testing of

19   narcotics found in defendant apartment and in the package found

20   abandoned outside his bathroom window, toxicology results conducted

21   on Gemmel Moore, Timothy Dean, and Dane Brown, and surveillance

22   footage obtained during the course of this investigation.             The

23   government proposed these stipulations to streamline its case and

24   avoid testimony on noncontroversial topics.          The government estimates

25   that these stipulations would cut off its case-in-chief by

26   approximately fourteen witnesses.

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 1   II.   ELEMENTS OF THE OFFENSE

 2         A.     Distribution of Methamphetamine

 3         The elements of distribution of methamphetamine as charged in

 4   Counts One through Six are (1) the defendant knowingly distributed

 5   methamphetamine; and (2) the defendant knew it was methamphetamine or

 6   some other federally controlled substance.          For the sentencing

 7   enhancement charged in Counts One and Two, the government must also

 8   prove that death or serious bodily injury resulted from the use of

 9   such controlled substance.       “Distributing” means delivering or

10   transferring possession of a controlled substance to another person,

11   with or without any financial interest in that transaction.

12            Ninth Circuit Model Criminal Jury Inst. No. 9.18; 21 U.S.C.

13   § 841(b)(1)(C).

14         B.     Maintaining a Drug Premises

15         The elements of maintaining a drug premises as charged in Count

16   Seven are (1) defendant knowingly leased/rented/used/maintained a

17   place, namely, 1234 North Laurel Avenue, Apartment #17, in West

18   Hollywood, California; and (2) defendant

19   leased/rented/used/maintained the residence for the purpose of

20   distributing or using a controlled substance, including gamma

21   hydroxybutyric acid (more commonly known as GHB), methamphetamine,

22   and clonazepam.     See Ninth Circuit Model Criminal Jury Instructions,

23   No. 9.31.    “For the purpose of distributing or using a controlled

24   substance” means that distributing or using a controlled substance is

25   one of the primary or principal uses to which the residence is put.

26   Id.   “Maintaining” a place includes facts showing that, over a period

27   of time, defendant directed the activities of and the people in the

28   place.     Id.; see also United States v. Shetler, 665 F.3d 1150, 1162

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 1    (9th Cir. 2011) (affirming drug premises conviction where the

 2    defendant manufactured methamphetamine and hosted gathering in his

 3    garage where jury could reasonably infer that defendant gave guests

 4    methamphetamine to consume at these gatherings).

 5          C.    Enticement to Travel for Purposes of Prostitution

 6          The elements of enticement to travel for prostitution as charged

 7    in Counts Eight and Nine are (1) defendant knowingly

 8    persuaded/induced/enticed an individual (here, Gemmel Moore in Count

 9    Eight and Jermaine Gagnon in Count Nine) to travel in interstate

10    commerce; and (2) the purpose of travel was to engage in sexual

11    activity for which any person could be charged with a criminal

12    offense, namely, prostitution, in violation of California Penal Code

13    Section 647(b).     Ninth Circuit Model Criminal Jury Instructions, No.

14    8.192.

15          The crime of prostitution is sexual activity for which any

16    person could be charged with a criminal offense, namely, a violation

17    of California Penal Code § 647(b).          For an individual to be found

18    guilty of the crime of prostitution, the government must prove beyond

19    a reasonable doubt that the individual willfully engaged in sexual

20    intercourse or a lewd act with someone else in exchange for money or

21    other compensation.      Judicial Council of California Criminal Jury

22    Instructions, No. 1153. A “lewd act” means touching the genitals or

23    buttocks of either the prostitute or customer with some part of the

24    other person’s body for the purpose of sexual arousal or

25    gratification of either person.        Id.   Someone commits an act

26    “willfully” when he does it willingly or on purpose.           Id.

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 1    III. THE GOVERNMENT’S CASE

 2          A.    Statement of Facts

 3          The government will prove beyond a reasonable doubt that,

 4    beginning on a date unknown, but not later than 2011, and continuing

 5    through on or about September 17, 2019, defendant engaged in a

 6    pattern of “party and play,” that is, soliciting men to consume drugs

 7    that defendant provided and perform sexual activities, at defendant’s

 8    apartment, located at 1234 North Laurel Avenue, Apartment #17, West

 9    Hollywood, California 90046. In these party and play sessions,

10    defendant distributed drugs, including methamphetamine, clonazepam,

11    and GHB, to his victims, and in some instances, injected them with

12    drugs intravenously in a practice known as “slamming.”           Defendant

13    exerted power and control over his victims, typically targeting

14    vulnerable individuals who were destitute, homeless, and/or struggled

15    with drug addiction, and exploited the relative wealth and power

16    imbalance between them by offering them money to use drugs and let

17    Buck inject them with drugs.

18          Defendant solicited victims in various ways, including social

19    media platforms like Adam4Adam, a gay male dating and escort website.

20    He also solicited men via referrals from his prior victims and

21    individuals he hired to do other work for him, offering a finder’s

22    fee for referrals.

23          At Buck’s apartment, Buck distributed and attempted to

24    distribute methamphetamine and other controlled substances to his

25    victims.    He prepared methamphetamine syringes in a ritualistic

26    fashion; some victims report that he required them to watch him do

27    it.   Buck’s preference was to personally inject victims, and he

28    pressured or incentivized victims to let him do so, sometimes

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 1    offering large cash bonuses to coerce a victim to agree to an

 2    injection or additional injections.         Other times, Buck simply

 3    injected victims while they were unconscious.          Defendant also

 4    prepared injections for victims to self-inject.

 5          In addition to methamphetamine injections, defendant distributed

 6    methamphetamine to be smoked and pressured victims to stay as high as

 7    possible.    If a victim was not interested in using drugs, or used

 8    less than Buck wanted him to use, defendant refused to pay the person

 9    or reduced the person’s pay.       Ultimately, if a victim refused to use

10    methamphetamine too many times, Buck would lose interest and would no

11    longer hire the person to party and play.

12          On two occasions – July 27, 2017 and January 7, 2019 – Buck’s

13    party and play fetish turned lethal.        On those dates, Gemmel Moore

14    (Count 1) and Timothy Dean (Count 2) died of methamphetamine

15    overdoses in defendant’s apartment, respectively.

16          Sadly, neither of these deaths deterred defendant from

17    continuing to distribute methamphetamine through party and play

18    sessions.    After Gemmel Moore died, defendant continued to distribute

19    methamphetamine to victims, including Carlos Sinclair (Count 3),

20    Jermaine Gagnon (Count 4), and Cody Hoffman (Count 5).           After both

21    Gemmel Moore and Timothy Dean died in defendant’s apartment,

22    defendant distributed methamphetamine to Dane Brown (Count 6), who

23    overdosed twice in Buck’s apartment and was lucky to survive with

24    immediate medical treatment.       Defendant distributed drugs to

25    countless others, some of whom will testify at trial and corroborate

26    the accounts of the named victims, giving a composite picture of

27    defendant’s compulsion to pump drugs into others regardless of the

28    consequences.     Their testimony will also provide direct evidence that

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 1    defendant used his apartment as a drug premises, constantly

 2    distributing methamphetamine, clonazepam, and GHB to a revolving door

 3    of victims (Count 7).

 4            Finally, defendant was not satisfied in soliciting victims only

 5    within the Los Angeles area.       Instead, he enticed individuals to

 6    travel to California from out-of-state for the purposes of engaging

 7    in prostitution through party and play sessions (Counts 8 & 9).             The

 8    evidence will show that Gemmel Moore moved to Texas to get away from

 9    Los Angeles, but at a point in July 2017, he started communicating

10    with Buck again.     Buck enticed Moore back to California by purchasing

11    him a plane ticket so Moore could travel to Los Angeles on July 27,

12    2017, to party and play with Buck (Count 8).          Just over a year later,

13    in September 2018, defendant similarly purchased a plane ticket for

14    Jermaine Gagnon to fly from Iowa to Los Angeles so that the two could

15    party and play (Count 9).

16            B.   Witnesses in the Government’s Case-in-Chief

17            The government estimates that it will call up to 51 witnesses in

18    its case-in-chief, as identified below.         The government expects that

19    it can cut approximately 14 witnesses, if defendant will enter trial

20    stipulations.     The government may not call every victim witness

21    identified in this list; however, we have attempted to identify all

22    possible witnesses who may testify.         Witness unavailability and the

23    government’s efforts to further streamline will likely narrow this

24    list.    While the length of defendant’s cross-examinations are

25    difficult to predict, the government expects that its case-in-chief

26    can be completed in eight to ten days.         Should defendant offer

27    witnesses or present evidence in his defense, the government may

28    choose to call additional witnesses in rebuttal.

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 1          The government expects to call the following witnesses loosely

 2    in this order, but may need to call witnesses out of order based on

 3    availability or unforeseeable circumstances:

 4          Liam Sacks will testify that he lived in the same apartment

 5    complex as Buck and saw young primarily black men entering and

 6    exiting the defendant’s apartment at all hours of the day, and that

 7    defendant told him that he was a social worker helping these

 8    individuals.    His testimony is relevant to Count 7.

 9          Carlos Sinclair will testify that Arthur Stokes referred him to

10    defendant; defendant paid him to party and play; defendant offered
11    him primarily methamphetamine and GHB; defendant frequently pressured
12    him to “slam” methamphetamine rather than smoke it; and defendant
13    would refuse to pay Sinclair if he did not perform to defendant’s
14    expectations.     Although Sinclair regularly declined slamming
15    methamphetamine, defendant once injected him with methamphetamine
16    while he was unconscious and without his consent.           His testimony is
17    relevant to Counts 3 and 7.
18          Arthur Stokes will testify that Buck paid him to party and play;
19    offered him several types of drugs and told Stokes he wanted to

20    “slam” him; offered him more money if he would do methamphetamine;

21    paid for his transportation across state lines to engage in party and

22    play; and when Stokes continued to decline Buck’s urges to use

23    methamphetamine, asked Stokes to refer a friend to use

24    methamphetamine with Buck, at which point Stokes referred Carlos

25    Sinclair.    Stokes’s testimony (1) corroborates Carlos Sinclair (Count

26    3); and (2) demonstrates Buck’s pattern of distributing drugs through

27    party and play (Counts 1 through 6) and enticing people across state

28    lines to engage in prostitution (Counts 8 and 9).

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 1          Anthony Everett will testify that Buck paid him to party and

 2    play; that Buck set forth detailed terms to arrange the party and

 3    play session (corroborating Cody Hoffman, Count 4); that Buck offered

 4    him more money to inject methamphetamine; and that he knew Gemmel

 5    Moore and knew that he worked as an escort because they did escort

 6    jobs together.     Everett’s testimony (1) demonstrates that Gemmel

 7    Moore worked as an escort, which is necessary to Count 8; and (2)

 8    demonstrates Buck’s pattern of distributing drugs through party and

 9    play (Counts 1 through 6).

10          James Conners will testify that he met Buck by responding to

11    Buck’s online advertisement to host a “party,” which Conners
12    understood to involve drug use and sexual activity.           He went to
13    Buck’s apartment approximately four times, during which Buck paid him
14    to model underwear and use marijuana Buck provided.           On two
15    occasions, Conners believes that Buck slipped a tranquilizer in his
16    drink, because Conners passed out.          On the last occasion, Conners
17    ingested a drink that made him feel paralyzed and when he started to
18    come to, he saw Buck injecting him with something (which corroborates
19    the accounts of Carlos Sinclair and Cody Hoffman, who had similar

20    experiences).     This pattern evidence is relevant to Counts 1 through

21    6, and specifically Counts 3 and 5.

22          Josh Tedla will testify that he lived in the apartment next door

23    to Buck and saw a revolving door of people going in and out of Buck’s

24    apartment, many of whom appeared to be in a stupor or under the

25    influence.    The volume of visitors subsided after each of the

26    overdose deaths, but quickly rose again as time passed.            Between the

27    deaths, Tedla saw a man who appeared to be under the influence

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 1    circling the perimeter of the apartment complex screaming at Buck’s

 2    apartment and demanding $30.       This testimony is relevant to Count 7.

 3          Detective Robert Martindale will testify that he searched

 4    defendant’s apartment pursuant to a warrant in September 2019 and

 5    collected evidence of defendant’s drug use and distribution,

 6    including klonopin pills, plastic tubing and straws, masks

 7    (identified by some witnesses and displayed in the digital evidence),

 8    sex toys, and a flashlight with a hidden compartment (identified as

 9    drug stash location by several witnesses).         His testimony is relevant

10    to Counts 1 through 9.

11          Paramedic Cole Alnes will testify that he was the “patient care”

12    paramedic who responded to the scene of the Gemmel Moore and Timothy
13    Dean overdoses.     During the Gemmel Moore incident, he saw a glass
14    pipe on the kitchen table, and during the Timothy Dean incident, he
15    saw towels covered in blood and vomit, indicating there had been an
16    effort to clean up the scene before paramedics arrived.            This
17    testimony is relevant to Counts 1 and 2.
18          Deputy Grehtel Barraza will testify that she responded to a 911
19    call at Buck’s apartment during Gemmel Moore’s overdose and saw drug

20    evidence in plain view in partially open toolchest drawers, as well

21    as a glass pipe on the kitchen table.         Her testimony is relevant to

22    Count 1.

23          Coroner Investigator Joseph Cronin will testify that he

24    collected Gemmel Moore’s personal effects (and found no drug

25    paraphernalia therein); found Moore’s boarding pass showing he had

26    flown to Los Angeles that day; photographed the scene; took custody

27    of Gemmel Moore’s body; and examined the contents of Gemmel Moore’s

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 1    phone before releasing it to a friend of Moore’s, per a written

 2    consent.    His testimony is relevant to Count 1.

 3          Detective John Carlin will testify that he recovered Gemmel

 4    Moore’s cell phones from Mr. Moore’s mother, LaTisha Nixon, and

 5    booked them into evidence.       He will go through certain text messages

 6    on Gemmel Moore’s cellphone that Buck and Mr. Moore exchanged just

 7    prior to Mr. Moore’s flight to Los Angeles on July 27, 2017.            He may

 8    also lay the foundation for certain photographs.          His testimony is

 9    relevant to Count 1.

10          Detective Aaron King will testify that he completed the

11    Cellebrite extraction for Gemmel Moore’s phone.          His testimony is
12    relevant to Count 1 and may be established through a trial
13    stipulation.
14          Special Agent Alton Richards will testify that he completed the
15    Cellebrite extraction for Dane Brown’s phone.          His testimony is
16    relevant to Counts 6 and 7 and may be established through a trial
17    stipulation.
18          Sergeant Paul Cardella will testify that during this
19    investigation, he and members of the investigative team seized

20    approximately eight of Buck’s digital devices and Buck’s iCloud,

21    which Cardella searched and discovered messages, photographs, and

22    videos evidencing Buck’s party and play sessions, including sessions

23    with Gemmel Moore.     He will give an overview of the investigation and

24    introduce that digital device evidence.         He will also go through text

25    messages found on Buck’s devices that evidence Buck’s pattern of

26    soliciting others for party and play.         To provide a cohesive

27    narrative for the jury, Sergeant Cardella will testify twice – once

28    to introduce the digital device evidence and give a “case agent”

                                              10
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 1    overview of the investigation, and then in the context of the Timothy

 2    Dean investigation, where he was the assigned homicide detective.

 3          Cellebrite Witnesses Minh Vu, Dan Morgan, Thanh Dang, Courtney

 4    King, and Christine Siedsma extracted data from the digital devices

 5    seized at Buck’s apartment and defendant’s iCloud account.            Of these

 6    five witnesses, at least four reside on the east coast.            It is the

 7    government’s hope and expectation that, in the interest of

 8    efficiency, particularly during a pandemic, that defendant will

 9    stipulate to the testimony of these witnesses.

10             Nusret Arnautovic will testify that he is the manager of the

11    apartment complex where Buck lived and he took screenshots of the
12    surveillance footage showing Gemmel Moore entering the apartment
13    complex with Buck on July 27, 2017.          He will testify that Buck had
14    many male visitors, ranging from 25 to 40 years old at all hours of
15    the day, and he continued to have such visitors after each of the
16    overdose deaths.     His testimony is relevant to Counts 1 and 6;
17    however, in an effort to streamline the case, the government has
18    offered to stipulate to his testimony regarding the accuracy of the
19    surveillance footage at the apartment complex and would forego

20    calling him for the remaining testimony.

21          Lauren Beard-Ansley will testify that he picked up Gemmel Moore

22    from LAX on July 27, 2017 and drove him straight to Buck’s apartment.

23    When Mr. Beard-Ansley arrived at Buck’s apartment, Gemmel Moore

24    entered the complex and went up to Buck’s apartment.           Mr. Beard-

25    Ansley went into the apartment for approximately an hour.            During

26    that time, he did not see Gemmel Moore using drugs.           He did not give

27    any drugs to Gemmel Moore.       His testimony is relevant to Count 1.

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 1          Criminalist Matthew Quon will testify that he examined a solid

 2    crystalline substance seized from defendant’s apartment on the

 3    evening of Gemmel Moore’s death and determined that it consisted of

 4    1.7 grams of methamphetamine.       His testimony is relevant to Count 1

 5    and may be established through a trial stipulation that the

 6    government has proposed.

 7          Medical Examiner Kevin Young - will testify regarding the

 8    autopsy of Gemmel Moore.      Specifically, he will testify that the

 9    immediate cause of death for Moore was methamphetamine use, and that

10    Moore had puncture wounds in his elbow pits, including a recent

11    puncture mark on the left side. His testimony is relevant to Count 1.

12          LaTisha Nixon will testify that she was Gemmel Moore’s mother

13    and that in 2016, Moore called her crying and screaming, and said
14    that a rich and powerful man named Ed Buck held him against his will
15    and shot him up with drugs and that his arms were red and swollen.
16    She told him to file a police report and go to the hospital.            She
17    will also testify that she obtained Moore’s cell phones from Marcus
18    Wilson Smith and subsequently turned them over to Det. Carlin.             Her
19    testimony is relevant to Count 1.

20          Markellis Jefferson will testify that from approximately 2006 to

21    2011 or 2012, Buck routinely injected him with cocaine, and then in

22    approximately 2011 or 2012, Buck started injecting Jefferson with

23    methamphetamine, all at Buck’s apartment.         Jefferson allowed Buck to

24    do this because Buck would pay him to party and play, and Jefferson

25    desperately needed the money.       Sometime in 2016, Buck tried to inject

26    Jefferson while Jefferson was unconscious in Buck’s apartment.             There

27    are numerous photographs, videos, and messages on Buck’s digital

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 1    devices that corroborate Jefferson’s account, and his testimony is

 2    relevant pattern evidence related to Counts 1 through 9.

 3          Daniel Lyons will testify that he saw Buck inject Timothy Dean

 4    with drugs in December 2018 or the beginning of January 2019, while

 5    he and Dean were at Buck’s apartment.         Buck also paid Lyons to party

 6    and play, injected him with methamphetamine, and photographed him

 7    during the party and play sessions.          Several photographs and videos

 8    of Lyons were found on Buck’s digital devices.          Lyons’s testimony in

 9    relevant to Counts 1 through 6, and Count 2 in particular.

10          Cody Hoffman will testify that Buck paid him to party and play

11    on two occasions during which Buck distributed methamphetamine; Buck
12    also distributed clonazepam to Hoffman, and on both occasions, Buck
13    surreptitiously gave Hoffman something that caused him to lose
14    consciousness.     When he awoke, Buck was preparing more injections for
15    Hoffman.    Hoffman’s testimony is relevant to Count 5 and Count 7.
16          Jermaine Gagnon will testify that Buck paid him to party and
17    play on four occasions, paid for him to fly from Iowa to Los Angeles
18    to party and play, provided methamphetamine every time and insisted
19    on “slamming” Gagnon, and surreptitiously gave him what he believed

20    to be a combination of GHB and methamphetamine that made him

21    extremely weak, hot, and as though his head would explode.            Gagnon’s

22    testimony is relevant to Counts 4, 7, and 9.

23          Corey Peters will testify that Buck approached him at an ATM

24    machine and invited him to party at his apartment, which Peters

25    understood to mean use methamphetamine.         Buck provided Peters with

26    methamphetamine and GHB, and insisted on keeping him as high as

27    possible.    Peters will testify that Buck had a very controlled

28    environment where guests had a station; Buck led him to believe that

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 1    cameras were everywhere; Peters had to ask permission to go to the

 2    bathroom; and all of the “play” props were meticulously organized

 3    (which corroborates other victim accounts).          Peters’s testimony is

 4    relevant pattern evidence as to Counts 1 through 9.

 5          Gregory Grant will testify that he met with defendant on

 6    approximately five occasions in late 2018.         On one occasion,

 7    defendant gave him GHB which caused him to become unconscious, after

 8    which defendant tied Grant up, removed his clothing, and manipulated

 9    his genitalia.     Grant’s testimony is relevant to Counts 3 through 7.

10          Phillip Okague will testify that defendant injected him with

11    methamphetamine on at least two occasions and was paid large amounts
12    of money for spending time with defendant.         Defendant would also have
13    him dress up in white underwear and would provide him with GHB.             His
14    testimony is relevant to Counts 3 through 7.
15          Retired CHP Officer Vaughn Gates is a drug recognition expert
16    who will testify regarding the common effects of methamphetamine,
17    GHB, and clonazepam, how these drugs are consumed, and the average
18    dosing of each.     He will also discuss the coded language used to
19    refer to these drugs and analyze messages on Buck’s digital devices

20    that are consistent with drug distribution.          His testimony is

21    relevant to Counts 1 through 7.

22          Deputy Oscar Palacios will testify that he responded to

23    defendant’s residence on January 7, 2019 and saw decedent victim

24    Timothy Dean lying unresponsive and face up on the living room

25    carpet.    When he arrived, defendant was performing CPR on Dean, after

26    which the Los Angeles County Fire paramedics relieved defendant and

27    began life saving measures for approximately thirty minutes.

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 1    Paramedic Ramirez ultimately pronounced Dean deceased at 0136 hours

 2    on January 7, 2019.      His testimony is relevant to Count 2.

 3           Coroner Investigator Brenda Shafer will testify that she

 4    responded to defendant’s apartment following Timothy Dean’s death on

 5    January 7, 2019.     Upon arrival, she saw Dean’s body on the living

 6    room floor surrounded by clothing, sex toys, and thick clear plastic

 7    tubing that appeared to contain a white powdery substance.            She also

 8    recovered a glass pipe on the dining room table and one on the stove

 9    top.   She then inspected Dean’s body, which was in rigor mortis.

10    Dean was wearing two pairs of white men’s briefs with a ring secured

11    at the base of the penis and wrapped around the scrotum.            Her

12    testimony is relevant to Count 2.

13           Jennifer DeStefano will testify that on January 7, 2019, she saw

14    an abandoned package on a ledge outside Buck’s bathroom window, and
15    reported it to police.      Her testimony is relevant to Counts 2 and 7.
16           Deputy Raymond Rose will testify that he retrieved the package
17    that DeStefano reported to police, photographed the location where he
18    found it, and gave the evidence to Sergeant Cardella.           His testimony
19    is relevant to Count 2.

20           Deputy James Potts will lay the foundation for surveillance

21    footage that he recovered from 1234 N. Lauren Avenue and from a Shell

22    gas station on Santa Monica Boulevard.         Absent a stipulation, his

23    testimony will be relevant to Counts 2 and 6.

24           Sergeant Paul Cardella will testify about the evidence recovered

25    pursuant to a search warrant after Timothy Dean’s death, the evidence

26    found in the package Deputy Rose recovered, and the surveillance

27    footage showing Timothy Dean entering Buck’s apartment.            This portion

28    of his testimony is relevant to Count 2.

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 1          Senior Criminalist Amber Sage will testify that she ran DNA

 2    tests on the pipes and syringes recovered from outside of defendant’s

 3    apartment on January 7, 2019.       She will testify that the DNA on

 4    various pipes and syringes support the conclusion that either

 5    defendant, Timothy Dean, or both defendant and Timothy Dean

 6    contributed DNA to the particular item.         Her testimony is relevant to

 7    Count 2.

 8          Criminalist Steven Kline will testify that he tested the

 9    syringes found in the package outside Buck’s window and many tested

10    positive for methamphetamine.       This testimony is relevant to Count 2.

11          Criminalist Mark LaVigne will testify that he tested the pipes

12    found outside Buck’s window following the Timothy Dean overdose
13    death, which tested positive for methamphetamine, and the suspected
14    klonopin found in Buck’s apartment during the September 2019 search,
15    which tested positive for clonazepam.         This testimony is relevant to
16    Counts 1 through 7 and may be established through a stipulation.
17          Donald Schulze will testify that he sold methamphetamine to Buck
18    on at least 20 occasions between May 2018 and January 2019, including
19    on January 5, 2019, the day before Timothy Dean went to Buck’s

20    apartment and died the next morning.         Schulze will testify that he

21    typically dropped off the methamphetamine to Buck outside Buck’s

22    apartment.

23          Crime Analyst Romy Haas is a cell-site expert who analyzed data

24    from Schulze’s cellphone for the dates on which Schulze will testify

25    he met with Buck.     Haas will testify that, on many of these

26    occasions, cell-site data suggests that Schulze’s phone was in the

27    vicinity of cell towers near Buck’s apartment.

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 1          Dr. Matthew Miller will testify that he performed the autopsy of

 2    Timothy Dean.     He will testify regarding scar tissue in the elbow

 3    pit, as well as a small amount of subcutaneous hemorrhage and

 4    subcutaneous scar tissue on the right side.          The subcutaneous

 5    hemorrhage contained foreign debris consistent with recent drug use.

 6    Dr. Miller will also opine that the cause of death is methamphetamine

 7    and ethanol toxicity, with coronary artery atherosclerosis as a

 8    contributing condition. His testimony is relevant to Count 2.

 9          Senior Criminalist Danielle Van Cleve will testify that she

10    performed the toxicology screens for Gemmel Moore and Timothy Dean.
11    For Gemmel Moore, the results showed 3.9 ug/mL methamphetamine in the
12    femoral blood and 0.13 ug/mL amphetamine and 4.4 ug/mL
13    methamphetamine in the heart blood.          For Timothy Dean, the results
14    showed 0.003 ug/mL amphetamine and 1.6 ug/mL methamphetamine in the
15    femoral blood; and 0.06 ug/mL amphetamine and 4.3 ug/mL
16    methamphetamine in the heart blood.          Her testimony is relevant to
17    Counts 1 and 2, and the government has offered to stipulate to her
18    testimony.
19          Senior Criminalist Courtney Castallino will testify that she

20    performed the toxicology screens for Timothy Dean.           For Timothy Dean,

21    the results showed a blood alcohol content of between 0.112 and

22    0.146%; 0.003 ug/mL amphetamine and 1.6 ug/mL methamphetamine in the

23    femoral blood.     Her testimony is relevant to Count 2, and the

24    government has offered to stipulate to her testimony.

25          Dane Brown will testify that he met defendant through the dating

26    website Adam4Adam in late 2019.        Defendant would regularly send

27    rideshare services to pick Brown up and take Brown to his apartment

28    where they would inject large amounts of methamphetamine.            Brown will

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 1    testify that defendant constantly pressured him to inject more

 2    methamphetamine each time they met and would often pressure him to

 3    inject twice in a single session.        Brown will testify that defendant

 4    regularly provided GHB.      Eventually, Brown moved in with defendant,

 5    after which he overdosed following methamphetamine injections on

 6    September 4, 2019 and September 11, 2019.         His testimony is relevant

 7    to Counts 6 and 7.

 8          Dr. Amar Shah will testify that he treated Dane Brown following

 9    his overdose on September 4, 2019.        He will discuss Brown’s condition

10    and his ultimate diagnosis that Brown had overdosed on

11    methamphetamine.     His testimony is relevant to Count 6.

12          Caroline Whitehead will testify that she was a toxicologist with

13    Quest Diagnostic and ran the toxicology screen ordered by Dr. Shah on
14    September 4, 2019.     The results showed 5,500 ng/mL amphetamine and
15    >20,000 ng/mL methamphetamine in Brown’s urine.          Her testimony is
16    relevant to Count 6, and the government has offered to stipulate to
17    her testimony.
18    IV.   LEGAL AND EVIDENTIARY ISSUES
19          A.    Victim Witness Testimony

20          On March 24, 2012, this Court ruled that evidence of Buck’s

21    distributions of drugs to individuals other than those identified in

22    the FSI is admissible “pursuant to 404(b) because it demonstrates

23    that defendant intended and had the capacity to distribute drugs to

24    participants in party and play sessions.”         (Dkt. 123 at 14.)     The

25    Court also held that these facts could be introduced as direct

26    evidence that defendant was operating a drug premises as charged in

27    Count 7.    (Id.)   The Court therefore held that this evidence is

28    admissible subject to an appropriate limiting instruction, which the

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 1    government included in the jury instructions it proposed to defense

 2    counsel.

 3          Separate, but relatedly, each of the victims identified in the

 4    FSI had multiple party and play sessions with Buck; however, the FSI

 5    charges only one count of distribution per named victim.            Evidence of

 6    distributions to the same victim is direct evidence of the charged

 7    distribution to that victim, not subject to the Rule 404(b) analysis,

 8    because those surrounding distributions are inextricably intertwined

 9    with the charged distribution.       That is, those surrounding

10    distributions are necessary to tell a coherent and complete story of

11    how the victims met Buck, how they formed a party and play

12    arrangement where Buck offered compensation to ingest drugs, and how

13    Buck gradually (or consistently) applied pressure to “get higher” or

14    let Buck inject them.      United States v. DeGeorge, 380 F.3d 1203, 1220

15    (9th Cir. 2004) (evidence necessary to tell a coherent and
16    comprehensive story is inextricably intertwined to the charged
17    conduct and thus is not subject to Rule 404(b) analysis).
18          Additionally, text messages, Uber/Lyft records, and photographs
19    from other party and play sessions with the same victim corroborate

20    the charged instance of distribution.         A jury cannot make its

21    decision in a void – without knowledge of the frequency and

22    commonalities of the distributions, the ongoing nature of the

23    relationship, and the evidence corroborating the victim’s account of

24    the ongoing conduct.      See United States v. Vizcarra- Martinez, 66

25    F.3d 1006, 1012–13 (9th Cir. 1995); United States v. Beckman, 298

26    F.3d 788 (9th Cir. 2002) (testimony that defendant worked as a drug

27    courier for the government’s cooperating witness and smuggled

28    marijuana across the border for that person on five or six prior

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 1    occasions was inextricably intertwined with the distribution charge

 2    because it was necessary to provide a comprehensive story about the

 3    crime and to establish the defendant’s relationship with the

 4    cooperating witness).

 5           Finally, this evidence is also direct evidence of Count 7 (drug

 6    premises), as the frequency of the visits tend to show that Buck was

 7    using and maintaining his apartment to distribute drugs.

 8           B.    Case Agents

 9        LASD Sergeant Paul Cardella and Detective Quilmes Rodriguez are

10    the primary case investigators.        Sergeant Cardella will testify as

11    the case agent.     Detective Rodriguez is not expected to testify in

12    the government’s case-in-chief.        The government respectfully requests

13    that they both be permitted to remain in the courtroom throughout

14    trial and that one of them sit at counsel table.

15           C.    Digital Device Evidence

16           The government expects to admit photographs, videos, and text

17    message conversations seized from defendant’s digital devices and

18    iCloud.     The photographs and video seized from defendant’s digital

19    devices show Buck and various individuals (identified and

20    unidentified) engaged in party and play sessions and thus corroborate

21    victim testimony and establish Buck’s pattern of distributing drugs

22    through party and play.      Similarly, the text message conversations

23    between Buck and various individuals (identified and unidentified)

24    show how Buck solicited men to party and play as well as his practice

25    of sending cars to transport them to Buck’s residence where Buck

26    would distribute drugs including methamphetamine, clonazepam, and

27    GHB.   Some of this evidence, including photographs, videos, and text

28    messages with named victims, is direct evidence of the charges and is

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 1    inextricably intertwined with those charges.          Other digital evidence,

 2    also including photographs, videos, and text messages, with other

 3    victims is essential evidence of Buck’s pattern of party and play,

 4    corroborates the named victims’ testimony, and refutes Buck’s

 5    anticipated defense that his guests brought or used their own drugs

 6    in his apartment without his knowledge, approval, or participation.

 7    While the latter category is also direct evidence of Count 7, in an

 8    abundance of caution, the government gave Rule 404(b) notice of this

 9    evidence on November 13, 2020.1

10                1.    Authentication and Identification

11          The photographs and videos from Buck’s digital devices will be
12    identified and authenticated (1) by a testifying victim depicted in
13    the photograph or video or who is otherwise familiar with the
14    depiction; or (2) by case investigator Paul Cardella who will
15    identify the photograph or video as one he observed on defendant’s
16    digital devices in the course of this investigation.           Similarly, text
17    messages from Buck’s digital devices will be identified and
18    authenticated by (1) a testifying victim who personally exchanged the
19    messages with Buck; or (2) case investigator Paul Cardella who will

20    testify that the messages are from an extraction of defendant’s

21    digital devices.

22          Federal Rule of Evidence 901(a) provides that “[t]he requirement

23

24

25
            1Specifically, the government gave notice that it intends to
26    introduce “photographs, videos, and messages seized from defendant’s
      digital devices that evidence defendant recruiting men for party and
27    play; communicating regarding narcotics use in coded language;
      offering compensation to party and play; and depicting individuals
28    appearing to be engaged in party and play, including images and
      videos of apparent drug use.”
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 1    of authentication or identification as a condition precedent to

 2    admissibility is satisfied by evidence sufficient to support a

 3    finding that the matter in question is what its proponent claims.”

 4    Under Rule 901(a), evidence should be admitted, despite any

 5    challenge, once the government makes a prima facie showing of

 6    authenticity or identification so “that a reasonable juror could find

 7    in favor or authenticity or identification . . . [because] the

 8    probative force of the evidence offered is, ultimately, an issue for

 9    the jury.” United States v. Chu Kong Yin, 935 F.2d 990, 996 (9th

10    Cir. 1991) (citations and internal quotation marks omitted); see also
11    United States v. Black, 767 F.2d 1334, 1342 (9th Cir. 1985).
12          Like other evidence, electronic data, including data seized from
13    digital devices, can be authenticated in a variety of ways, including
14    by an investigator with knowledge of the investigation or by someone
15    with firsthand knowledge of the content or circumstances captured in
16    the data.    See United States v. Smith, 918 F.2d 1501, 1510 (11th Cir.
17    1990) (“[t]he government may authenticate a document solely through
18    the use of circumstantial evidence, including the document’s own
19    distinctive characteristics and the circumstances surrounding its

20    discovery”); United States v. Siddiqui, 235 F.3d 1318, 1322–23 (11th

21    Cir. 2000) (emails sufficiently authenticated by content and context

22    by examining what was said in the messages as well as nicknames used

23    within the messages).      For example, a witness can authenticate text

24    messages that he personally exchanged with the defendant.            See Fed.

25    R. Evid. 901(b) (a party may authenticate evidence through

26    “[t]estimony [of a witness with knowledge] that a matter is what it

27    is claimed to be”).      Similarly, a witness can authenticate a

28    photograph or video that depicts the witness or something with which

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 1    he is familiar, regardless of his knowledge of the particular

 2    circumstances under which the photograph or video was taken.            32

 3    McCormick On Evid. § 215 (7th ed.) (“The witness who lays the

 4    authentication foundation need not be the photographer, nor need the

 5    witness know anything of the time, conditions, or mechanisms of the

 6    taking of the picture.”); see also Fed. R. Evid. 1002 advisory

 7    committee’s note.     “The bar for authentication of evidence is not

 8    particularly high.”      See generally United States v. Gagliardi, 506

 9    F.3d 140, 151 (2d Cir. 2007) (citation omitted).

10          Here, as stated above, the government expects to present some

11    digital device evidence directly through victims who will

12    authenticate the evidence as a text conversation they had with

13    defendant, or a photograph or video depicting the victim in

14    defendant’s apartment.      To the extent there are lingering questions

15    regarding authenticity, the evidence can be conditionally admitted,

16    subject to a case investigator or Cellebrite technician (or

17    stipulation) establishing that the data was seized from defendant’s

18    digital devices.

19          The government also expects to admit and discuss a portion of

20    this evidence through Sergeant Paul Cardella, who will give an

21    overview of the investigation and admit a sample of digital device

22    evidence showing defendant’s distributions of drugs in his apartment

23    during apparent party and play sessions, including sessions with

24    Gemmel Moore prior to Gemmel Moore’s overdose death.           For digital

25    device evidence not discussed by victim witnesses, the government may

26    seek to elicit lay testimony from Sergeant Cardella regarding the

27    meaning of certain extracted messages, based on his knowledge of the

28    investigation.     Lay opinion testimony is admissible if it is (1)

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 1    “rationally based on the perception of the witness,” (2) “helpful to

 2    a clear understanding of the witness’s testimony or the determination

 3    of a fact in issue[,]” and (3) “not based on scientific, technical,

 4    or other specialized knowledge within the scope of Rule 702.” Fed. R.

 5    Evid. 701. See also United States v. Freeman, 498 F.3d 893, 904-05

 6    (9th Cir. 2007) (upholding, as proper lay testimony, detective’s

 7    testimony interpreting ambiguous statements where his “understanding

 8    of ambiguous phrases was based on his direct perception of several

 9    hours of intercepted conversations. . . and other facts he learned

10    during the investigation” and his testimony “proved helpful to the

11    jury in determining what [defendants] were communicating during the

12    recorded telephone calls”).

13                2.     Transcripts for English language recordings

14          For videos recovered from Buck’s digital devices where there is
15    audible conversation relevant to the charges or necessary to
16    understand the evidence, the recording will be synced with a
17    transcript.      The recordings and corresponding transcripts have been
18    produced to defendant.      The statements captured by the recordings are
19    all in English.2

20          D.    Chain of Custody of Physical Evidence

21          To be admitted, real evidence (i.e., a physical exhibit) must be

22    in substantially the same condition as when the crime was committed.

23    The court may admit the evidence if there is “a reasonable

24    probability the article has not been changed in important respects.”

25    United States v. Harrington, 923 F.2d 1371, 1374 (9th Cir. 1991).

26

27          2For recorded conversations in the English language, the
      recording itself is the evidence, and a transcript of the recording
28    may be provided as an aid in following the conversation. United
      States v. Chen, 754 F.2d 817, 824 (9th Cir. 1985).
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 1          In establishing chain of custody, the government is not required

 2    to call all persons who have come into contact with the evidence.

 3    Reyes v. United States, 383 F.2d 734 (9th Cir. 1967).           Alleged

 4    defects in the chain of custody go to the weight of the evidence

 5    rather than to its admissibility.        United States v. Matta-

 6    Ballesteros, 71 F.3d 754, 769 (9th Cir. 1995), amended on denial of

 7    reh’g and reh’g en banc, 98 F.3d 1100 (9th Cir. 1996).           In the

 8    absence of evidence of tampering, there is a presumption that public

 9    officers have properly discharged their official duties.            Harrington,

10    923 F.2d at 1374.
11          In this case, the government’s physical evidence includes drugs,
12    and party and play paraphernalia found in defendant’s apartment
13    during the Gemmel Moore overdose death, the Timothy Dean overdose
14    death, and the September 2019 arrest and search warrant.            The
15    government will also offer into evidence photographs of defendant’s
16    apartment and the items seized from it.         Additionally, the government
17    will offer into evidence a Cellebrite download of victim Gemmel
18    Moore’s phone.     The phone was originally seized by Coroner
19    Investigator Cronin, and the Property Unit released it to a

20    custodian, a friend of Gemmel Moore’s.         Mr. Moore’s mother, LaTisha

21    Nixon, then provided the phone to Det. John Carlin, who downloaded

22    its contents.

23          E.    Business Records

24          At trial, the government anticipates offering several sets of

25    business records into evidence, including 911 calls,3 Uber/Lyft

26
            3Specifically, the government will introduce the 911 calls (1)
27    defendant made after Gemmel Moore’s overdose and Timothy Dean’s
      overdose; and (2) a gas station attendant made after Dane Brown’s
28    overdose. The government has prepared transcripts of video
                                              (footnote cont’d on next page)
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 1    records, phone records, bank records, and flight records.            Such

 2    records of “regularly conducted activity” fall within an exception to

 3    the rule against hearsay and are admissible either through “the

 4    testimony of the custodian or another qualified witness” or “by a

 5    certification that complies with Rule 902(11).”          Fed. R. Evid.

 6    803(6)(D).    In this case, the government has chosen the latter option

 7    with respect to certain records, and has provided copies of those

 8    records in discovery to defense counsel along with certifications by

 9    appropriately qualified custodians of records, thereby affording

10    opposing counsel “a fair opportunity to challenge them.”            Fed. R.

11    Evid. 902(11).     To date, no defendant has raised any objection to the

12    admission of any of these business records.

13          F.     Summary Charts and Lay Testimony Regarding Digital Evidence

14          The government plans to introduce summary charts regarding (1)

15    the digital devices searched and seized in this case; (2) Gemmel

16    Moore’s visits to defendant’s apartment, as established by digital

17    device evidence; (3) Donald Schulze’s distributions of

18    methamphetamine to defendant, as established by text messages,

19    historical cell-site analysis, and witness testimony; and (4) Carlos

20    Sinclair’s visits to defendant’s apartment, as established by digital

21    device evidence, Uber/Lyft records, and witness testimony, as

22    established by digital device evidence, Uber/Lyft records, and

23    witness testimony.     These charts will aid the jury is understanding

24    this important, but voluminous evidence.

25          The Ninth Circuit has long endorsed the use of summary charts as

26    a “testimonial aid” for the jury.        United States v. Wood, 943 F.2d

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      recordings where the conversation on the recording is relevant. For
28    other records, where the images are the relevant portion of the
      recording, there will be no corresponding transcript.
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 1    1048, 1053-54 (9th Cir. 1991).       It has also acknowledged that there

 2    is no “bright-line rule against admission of summary charts as

 3    evidence.”    United States v. Anekwu, 695 F.3d 967, 981-82 (9th Cir.

 4    2012).     Rather, it is within a “district court’s discretion” under

 5    Federal Rule of Evidence 611(a) to determine whether such exhibits

 6    can be admitted.     Id. at 982 (citing United States v. Boulware, 470

 7    F.3d 931, 936 (9th Cir. 2006)).

 8          G.     Expert Testimony and Related Evidence

 9          The government has notified defendant pursuant to Federal Rule

10    of Criminal Procedure 16(a)(1)(G), that it intends to call as expert

11    witnesses (1) a forensic biologist to testify about DNA evidence

12    found on the syringes and pipes found below Buck’s bathroom window

13    after Timothy Dean’s overdose death; (2) a forensic toxicologist who

14    will opine of the causes of Gemmel Moore and Timothy Dean’s deaths;

15    (3) the medical examiners who performed autopsies on Gemmel Moore and

16    Timothy Dean; (4) a cell-site expert who analyzed the location of

17    Donald Schulze’s cellphone during his meetings with Buck to

18    distribute drugs; (5) a law enforcement drug expert who will opine

19    regarding the effects of certain controlled substances and the coded

20    language used to refer to drugs and drug use; (6) criminalists who

21    tested the controlled substances recovered from Buck’s apartment and

22    in the drug residue in the pipes and syringes found in the package

23    outside Buck’s apartment; and (7) toxicologists who tested the levels

24    of various drugs in the decedent victims’ blood and the named

25    victim’s urine.

26          A qualified expert witness may provide opinion testimony on the

27    issue in question if specialized knowledge will assist the trier of

28    fact in understanding the evidence or determining a fact in issue.

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 1    See Fed. R. Evid. 702.      To be admissible, expert testimony must

 2    satisfy only two basic requirements: (1) the testimony must be

 3    helpful to the trier of fact; and (2) the witness must be qualified

 4    to deliver the testimony based on his knowledge, skill, experience,

 5    training, or education.      Exum v. General Elec. Co., 819 F.2d 1158,

 6    1163 (D.C. Cir. 1987); 4 Weinstein & Berger, WEINSTEIN’S FEDERAL

 7    EVIDENCE, § 702.06[2], at 702-06 (2d ed. 1997) (“WEINSTEIN”).             An

 8    expert may provide opinion testimony even if it embraces an ultimate

 9    issue to be decided by the trier of fact.         See Fed. R. Evid. 704;

10    United States v. Fleischman, 684 F.2d 1329, 1335 (9th Cir. 1982).
11    Each of the government’s witnesses meets the requirements of Rule
12    702.
13           On November 20, 2020, defendant challenged the testimony of DNA
14    expert Amber Sage.     Following a hearing on March 1, 2021, the Court
15    ruled that Ms. Sage’s testimony was “not only relevant, but
16    admissible pursuant to Daubert.”        (Dkt. 123 at 25-26.)     Defendant has
17    not otherwise challenged any of the remaining experts’ qualifications
18    or the helpfulness of the testimony.
19           H.   Truth Testimony Provision of Diversion Agreement

20           The government may not vouch for the credibility of its

21    witnesses by presenting the jury with personal assurances of the

22    witness’s veracity.      However, a reference to the “truthful testimony”

23    provisions of a witness’s diversion agreement with the government

24    does not constitute vouching if it is made in response to an attack

25    on the witness’s credibility because of his plea bargain.            United

26    States v. Monroe, 943 F.2d 1007, 1013 (9th Cir. 1991).           To introduce

27    such a “truthful testimony” provision of a diversion agreement, the

28    government need not wait until re-direct examination, after the

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 1    witness’s credibility has been attacked on cross-examination.

 2    Instead, where in opening statement the defendant attacks the

 3    witness’s credibility because of the witness’s diversion agreement,

 4    the government may introduce the “truthful testimony” provisions in

 5    direct examination of the witness. Id. at 1014 (because government

 6    introduced “truthful testimony” aspects of a cooperator’s plea

 7    agreement only after defendant had attacked cooperator’s credibility

 8    in opening statement, government did not vouch for cooperator).

 9          I.     Grand Jury Testimony

10          The government intends to call Lauren Beard-Ansley at trial, who

11    also testified before the grand jury.4        Mr. Beard-Ansley is a friend
12    of defendant and we expect that he may become evasive or recalcitrant
13    on the stand.
14          Sworn grand jury testimony can be used not only to impeach
15    allies of the defendant but also to refresh recollection, and may be
16    admitted as substantive evidence if the witness testifies
17    inconsistently or claims to have no recollection of the earlier
18    statement.    United States v. Champion Int'l Corp., 557 F.2d 1270,
19    1274 (9th Cir. 1977) (“Prior inconsistent testimony of a witness

20    before a grand jury is admissible as substantive evidence if the same

21    witness testifies at trial.”) (citing Fed. R. Evid. 801(d)(1)(A));

22    United States v. Morgan, 555 F.2d 238, 242 (9th Cir. 1977) (grand

23    jury testimony properly admitted where witness at trial was

24    “indefinite and uncertain” or “indefinite and evasive” on topics

25    covered in his grand jury testimony).         Portions of the prior

26    testimony can be read even if the grand jury testimony was “elicited

27

28          4His grand jury testimony has been disclosed under the
      Protective Order, pursuant to the Court’s order.
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 1    by means of leading questions.”        Champion Int'l Corp., 557 F.2d at

 2    1274.

 3            Sworn grand jury testimony of a witness testifying at trial can

 4    also be admitted if it is consistent with the witness’s trial

 5    testimony and is offered “to rebut an express or implied charge that

 6    the declarant recently fabricated it or acted from a recent improper

 7    influence or motive in so testifying” or “to rehabilitate the

 8    declarant’s credibility as a witness when attacked on another

 9    ground.”     Fed. R. Evid. 801(d)(1)(B).

10            J.   Defendant’s Statements

11            Defendant’s statements are admissible only if offered against

12    him -- otherwise, they fall within the scope of the rule against

13    hearsay.     Fed. R. Evid. 801(d)(2)(A); United States v. Fernandez, 839

14    F.2d 639, 640 (9th Cir. 1988).       The hearsay rule prohibits a
15    defendant from obtaining the benefit of testifying without subjecting
16    himself to cross-examination by placing his self-serving prior
17    statements before the jury through other witnesses.           Fed. R. Evid.
18    801(c); Fernandez, 839 F.2d at 640.
19            K.   Cross-Examination of Defendant

20            A defendant who testifies at trial may be cross-examined as to

21    all matters reasonably related to the issues he or she puts in

22    dispute during direct examination.        “A defendant has no right to

23    avoid cross-examination on matters which call into question his claim

24    of innocence.”     United States v. Miranda-Uriarte, 649 F.2d 1345,

25    1353-54 (9th Cir. 1981).      The government is not required to provide

26    notice of matters about which it may seek to cross-examine defense

27    witnesses, including defendant, should they testify.

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 1          L.    Use of Exhibits During Opening Statement

 2          Exhibits may be used by the government in the opening statement,

 3    and so long as the opening statement “avoids references to matters

 4    that cannot be proved or would be inadmissible, there can be no

 5    error, much less prejudicial error.”         United States v. De Peri, 77826

 6    F.2d 963, 979 (3d Cir. 1985); see also United States v. Rubino, 43127

 7    F.2d 284, 290 (6th Cir. 1970).

 8          The government intends to identify the photographs that it will

 9    use in its opening statement to the defense prior to trial.

10          M.    Reciprocal Discovery

11          The government has, on numerous occasions, requested reciprocal

12    discovery and expert disclosures from the defense.           To date, defense

13    counsel has not produced any reciprocal discovery.           On November 20,

14    2020, they disclosed three experts: (1) Mark Scott Taylor – DNA

15    analysis; (2) Marvin Pietruszka – Forensic Toxicology; and (3)

16    Christopher Mark Milroy – Forensic Pathology.          On November 24, 2020,

17    the government informed defense counsel that merely identifying three

18    persons and their respective fields was insufficient notice under

19    Rule 16(b)(1)(C) and requested a written summary of any testimony

20    that defendant intended to use under Rules 702, 703, or 705.

21    Defendants disclosure did not apprise the government of the proposed

22    experts’ opinions, the bases for their opinions, or their

23    qualifications.     The government has renewed its request for Rule 16

24    disclosures at least twice since November 2020.

25          At the June 1, 2021 status conference, defense counsel stated

26    that he would no longer call Mr. Taylor or Mr. Milroy.           On June 14,

27    2021, defendant provided sufficient notice of Dr. Pietruszka and his

28    anticipated testimony.      However, the government has not received any

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 1    disclosures regarding any additional expert witnesses.           At the June

 2    22, 2021 hearing and the June 28, 2021 status conference, defense

 3    counsel indicated that he is ready to proceed to trial on July 13,

 4    2021.

 5            To the extent defendant attempts to introduce or use documents

 6    at trial that have not been previously produced, or to use

 7    undisclosed experts, the government reserves the right to seek to

 8    preclude their use.      See Fed. R. Crim. P. 16(d)(2) (“[T]he court may

 9    . . . prohibit the party from introducing evidence not disclosed.”);

10    see also Taylor v. Illinois, 484 U.S. 400, 415 (1988) (defendant’s

11    failure to comply with, or object to, government’s discovery requests
12    before trial justified exclusion of unproduced evidence).
13            N.   Affirmative Defenses
14            Defendant has not given notice of an intent to rely on any
15    defense of mental incapacity, duress, entrapment, or alibi.
16    Therefore, to the extent defendant may attempt to rely on any such
17    defense, the government reserves the right to object and to seek to
18    have defendant precluded from asserting such a defense.
19            O.   Character and Impeachment Evidence

20            The Supreme Court has recognized that character evidence --

21    particularly cumulative character evidence -- has weak probative

22    value and great potential to confuse the issues and prejudice the

23    jury.    See Michelson v. United States, 335 U.S. 469, 480, 486 (1948).

24    The Court has thus given trial courts wide discretion to limit the

25    presentation of character evidence.          Id.

26            In addition, the form of the proffered evidence must be proper.

27    Federal Rule of Evidence 405(a) sets forth the sole methods for which

28    character evidence may be introduced.         It specifically states that,

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 1    where evidence of a character trait is admissible, proof may be made

 2    in two ways: (1) by testimony as to reputation and (2) by testimony

 3    as to opinion.     Thus, a defendant may not introduce specific

 4    instances of his or her good conduct through the testimony of others.

 5    See Michelson, 335 U.S. at 477.        On cross-examination of a

 6    defendant’s character witness, however, the government may inquire

 7    into specific instances of a defendant’s past conduct relevant to the

 8    character trait at issue.       See Fed. R. Evid. 405(a).      In particular,

 9    a defendant’s character witnesses may be cross-examined about their

10    knowledge of the defendant’s past crimes, wrongful acts, and arrests.

11    See Michelson, 335 U.S. at 481.        The only prerequisite is that there

12    must be a good faith basis that the incidents inquired about are
13    relevant to the character trait at issue.         See United States v.
14    McCollom, 664 F.2d 56, 58 (5th Cir. 1981).
15          P.    Jury Nullification
16          To the extent any defendant attempts to raise improper defenses,
17    the Court should exclude any evidence or argument relating to any
18    possible jury nullification defense.         Zal v. Steppe, 968 F.2d 924,
19    930 (9th Cir. 1992) (Trott, J., concurring) (“[N]either a defendant

20    nor his attorney has a right to present to a jury evidence that is

21    irrelevant to a legal defense to, or an element of, the crime

22    charged.    Verdicts must be based on the law and the evidence, not on

23    jury nullification as urged by either litigant.”).

24          In particular, the defendant in this case should not be

25    permitted to introduce evidence concerning his philanthropic causes,

26    donations, the financial dependency of family members, having ailing

27    family members, or having a difficult upbringing, since none is

28    relevant to any material issue and its nonexistent or minimal

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 1    probative value is substantially outweighed by the risk of unfair

 2    prejudice and confusion of the issues.         See Fed. R. Evid. 401, 403.

 3    V.    CONCLUSION

 4          The government respectfully requests permission to file

 5    supplemental trial memoranda if necessary.

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